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MAR 06 2001

IN THE UNITED STATES DISTRICT COURT | CLERK, U.S. DISTRICT CouRT
FOR THE SOUTHERN DISTRICT OF ILLINOIS*OUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA, )
)
Plaintiff, )
)
V. ) CRIM. NO. 00-40101-GPM
)
RANDALL MOSS, a/k/a “Herbie,” ) Title 21, United States Code,
WILLIAM MOSS, a/k/a “Billy,” ) Sections 841(a)(1), 841(b)(1) and 846.
CHAD SANDERS, )
BRAD TAYLOR, and ) Title 18, United States Code, Section 924(c)
TYREE NEAL )
)
Defendants )

THIRD SUPERCEDING INDICTMENT
THE GRAND JURY CHARGES:
Count ]

From on or about 1997 through on or about November 1, 2000, in Saline County, and

elsewhere within the Southern District of Illinois,
RANDALL MOSS, a/k/a “Herbie,”
WILLIAM MOSS, a/k/a “Billy,”
CHAD SANDERS,
BRAD TAYLOR, and
TYREE NEAL

defendants herein, did knowingly and intentionally conspire with each other, and with others known
and unknown to the Grand Jury, to distribute and possess with intent to distribute more than five (5)
grams of a mixture and substance containing cocaine base, (commonly known as “crack cocaine’’),

and cocaine, a Schedule IJ, narcotic controlled substances, in violation of Title 21, United States

Code, Sections 841(a)(1) and 841(b)(1)(B); all in violation of Title 21, United States Code, Section

846.
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Count 2
On or about May 10, 2000, in Saline County, within the Southern District of Illinois,
WILLIAM MOSS, a/k/a “Billy,”
defendant herein, did knowingly and intentionally distribute a mixture and substance containing
cocaine base (commonly known as “crack cocaine’), a Schedule II narcotic controlled substance, in

violation of Title 21, United States Code, Section 841(a)(1) and 841(b)(1)(C).

Count 3
On or about May 25, 2000, in Saline County, within the Southern District of Ilinois,
WILLIAM MOSS, a/k/a “Billy,”
defendant herein, did knowingly and intentionally distribute a mixture and substance containing
cocaine, a Schedule IJ narcotic controlled substance, in violation of Title 21, United States Code,

Section 841(a)(1) and 841(b)(1)(C).

Count 4
On or about June 1, 2000, in Saline County, within the Southern District of Illinois,
WILLIAM MOSS, a/k/a “Billy,”
defendant herein, did knowingly and intentionally distribute a mixture and substance containing
cocaine, a Schedule II narcotic controlled substance, in violation of Title 21, United States Code,

Section 841(a)(1) and 841(b)(1)(C).
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COUNT 5
On or about June 16, 2000, in Saline County, within the Southern District of Illinois,
WILLIAM MOSS, a/k/a “Billy,”
defendant herein, during and in relation to a drug trafficking crime, to wit: conspiracy to distribute
and possess with intent to distribute a mixture and substance containing cocaine and cocaine base
(commonly known as “crack cocaine”), as charged above in Count 1, did knowingly brandish a
stainless/nickel plated, large caliber, semi-automatic handgun, in violation of Title 18, United States

Code, Section 924(c).

Count 6
On or about July 25, 2000, in Saline County, within the Southern District of Mhnois,
RANDALL MOSS, a/k/a “Herbie,”
defendant herein, did knowingly and intentionally distribute a mixture and substance containing
cocaine, a Schedule II narcotic controlled substance, in violation of Title 21, United States Code,

Section 841(a)(1) and 841(b)(1)(C).

Count 7
On or about July 31, 2000, in Saline County, within the Southern District of Illinois,
RANDALL MOSS, a/k/a “Herbie,”
defendant herein, did knowingly and intentionally distribute a mixture and substance containing

cocaine base (commonly known as “crack cocaine’’), a Schedule IJ narcotic controlled substance, in

violation of Title 21, United States Code, Section 841(a)(1) and 841(b)(1)(C).
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Count 8
On or about September 12, 2000, at 12:45 p.m., in Saline County, within the Southern
District of [linois,
CHAD SANDERS,
defendant herein, did knowingly and intentionally distribute a mixture and substance containing
cocaine, a Schedule II narcotic controlled substance, in violation of Title 21, United States Code,

Section 841(a)(1) and 841(b)(1)(C).

Count 9
On or about September 12, 2000, at 10:45 p.m., in Saline County, within the Southern
District of Illinois,
CHAD SANDERS,
defendant herein, did knowingly and intentionally distribute a mixture and substance containing
cocaine base (commonly known as “crack cocaine’), a Schedule II narcotic controlled substance, in

violation of Title 21, United States Code, Section 841(a)(1) and 841(b)(1)(C).

Count 10
On or about September 13, 2000, in Saline County, within the Southern District of Hlinois,
CHAD SANDERS,
defendant herein, did knowingly and intentionally distribute a mixture and substance containing

cocaine base (commonly known as “crack cocaine’’), a Schedule If narcotic controlled substance, in

violation of Title 21, United States Code, Section 841(a)(1) and 841(b)(1)(C).
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Count 1 -
On or about September 13, 2000, in Saline County, within the Southern District of Illinois,
RANDALL MOSS, a/k/a “Herbie,”
defendant herein, did knowingly and intentionally distribute a mixture and substance containing
cocaine, a Schedule I narcotic controlled substance, in violation of Title 21, United States Code,

Section 841(a)(1) and 841(b)(1)(C).

Count 12
On or about September 14, 2000, in Saline County, within the Southern District of Illinois,
BRAD TAYLOR,
defendant herein, did knowingly and intentionally distribute a mixture and substance containing
cocaine, a Schedule I narcotic controlled substance, in violation of Title 21, United States Code,

Section 841(a)(1) and 841(b)(1)(C).

Count 13
On or about September 14, 2000, in Saline County, within the Southern District of Illinois,

CHAD SANDERS and
TYREE M. NEAL,

defendants herein, did knowingly and intentionally distribute a mixture and substance containing
cocaine and cocaine base (commonly known as “‘crack cocaine’’), Schedule [I narcotic controlled

substances, in violation of Title 21, United States Code, Section 841(a)(1) and 841(b)(1)(C).
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Count 14
On or about September 19, 2000, in Saline County, within the Southern District of [llinots,
RANDALL MOSS, a/k/a “Herbie,”
defendants herein, did knowingly and intentionally distribute a mixture and substance containing
cocaine, a Schedule IJ narcotic controlled substance, in violation of Title 21, United States Code,

Section 841(a)(1) and 841(b)(1)(C).

Count 15
On or about November 15, 2000, in Saline County, within the Southern District of Illinois,
RANDALL MOSS, a/k/a “Herbie,”
defendant herein, having previously been convicted of a felony punishable by imprisonment for a
term exceeding one year, to wit: Unlawful Possession of a Weapon by a Felon, 88-CF-114, on
February 16, 1989, in the Circuit Court of the First Judicial Circuit, Saline County, Illinois, did
knowingly possess, in and affecting commerce, a Smith & Wesson Model 10-5, .38 caliber revolver,

serial number D649429, in violation of Title 18, United States Code, Section 922(g)(1).

A TRUE BILL
f, 24,

va Z. FOREPERSON

eo CHARLES GRACE
tted States Attorney

Recommended Bond: Detention
